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                   EXHIBIT B
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                   A.B. Data, Ltd.
                   Class Action Administration Company
                   600 A.B. Data Drive
                   Milwaukee, WI 53217




   Proposed Notice Plan
   ___________________________________________________________________


   In re: Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-08637
   United States District Court for the Northern District of Illinois, Commercial
   & Institutional Indirect Purchaser Plaintiffs (“CIIPPs”)
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                             PROPOSED NOTICE PLAN
Case Background

This Notice Plan is submitted by A.B. Data, Ltd. (“A.B. Data”) in connection with In re:
Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-08637, a case before the United States
District Court for the Northern District of Illinois. This document outlines the efforts that will
be made to provide notice to the Class.
As stated in Rule 23(c)(2)(B) of the Federal Rules of Civil Procedure, “individual notice to all
members who can be identified through reasonable effort” is the best notice option. For those
individuals and entities not reached through direct notice or who are unidentified potential
Settlement Class Members, a paid-media campaign is appropriate to reach them. Because
direct notice in this case will not reach all potential Settlement Class Members, a paid-media
campaign targeting unidentified Settlement Class Members is appropriate.

Class Definitions

The Class for this matter is generally defined as follows in the Fieldale, Amick Farms,
George’s, Peco, Tyson, and Mar-Jac Settlements:

        All entities that purchased Broilers 1 indirectly from a Defendant or named co-
        conspirator in the United States for their own use in commercial food
        preparation from January 1, 2008, through July 31, 2019. 2

For the Pilgrim’s Pride settlement, the Settlement Class is defined as:

       All entities that purchased Broilers indirectly from a Defendant or named co-
       conspirator in the Indirect Purchaser States, 3 as defined herein, for their own use in
       commercial food preparation from January 1, 2008, until July 31, 2019.

1
  “Broilers” are defined as “chickens raised for meat consumption to be slaughtered before the
age of 13 weeks, and which may be sold in a variety of forms, including fresh or frozen, raw
or cooked, whole or in parts, or as a meat ingredient in a value-added product, but excluding
chicken that is grown, processed, and sold according to halal, kosher, free range, or organic
standards.” CIIPPs’ Complaint at fn. 1.
2
 The Class Period for the Fieldale and Amick Farms settlements is January 1, 2008, until
February 20, 2019.
3
 The “Indirect Purchaser States” include: Arizona, California, Connecticut (for the Amick
settlement only), District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine,
Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada,
New Hampshire, New Mexico, New York, North Carolina, North Dakota, Oregon, Rhode
                                               2


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There are a number of persons and entities that are excluded from the foregoing classes. 4

Plan Components

This document summarizes the recommended Notice Plan. This plan is consistent with the
requirements set forth in Rule 23 of the Federal Rules of Civil Procedure and with due process.
The methods and tools used in developing this Notice Plan have been employed in many other
court-approved notice plans.
To reach unidentifiable Settlement Class Members and those not reached through direct notice,
A.B. Data recommends the use of paid and earned media. Paid media advertising is guaranteed
to appear and allows for limited control of the content, timing, and positioning of the message.
Newspapers, magazines, television, radio, out-of-home media, and the internet—among other
sources—offer paid media opportunities.

A.B. Data recommends national, targeted paid media notice consisting of print and digital
media that will reach the Settlement Class Members concerned. Each of the following elements
is detailed further in this document.

    •   Direct notice;
    •   Targeted digital advertising;
    •   National targeted trade websites; and
    •   National targeted print trade publications.
Onscreen television advertising is not recommended due to the high cost and inefficiencies in
reaching this audience.




Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and
Wisconsin
4
  Specifically excluded from the Class are: (a) natural persons who purchased Broilers for
their personal use and not for commercial food preparation (End-User Consumers); (b)
purchasers of Broilers directly from Defendants; (c) purchasers of Broilers for resale in
unaltered form; (d) purchasers of Broilers from an intermediary who has further processed
the Broiler after purchase from a Defendant; (e) the Defendants; (f) the officers, directors, or
employees of any Defendants; (g) any entity in which any Defendant has a controlling
interest; and any affiliate, legal representative, heir or assign of any Defendant; (h) any
federal or state governmental entities, and any judicial officer presiding over this action and
the members of his/her immediate family and judicial staff; (i) any juror assigned to this
action; and (j) any co-conspirator identified in this action.

                                                3


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Target Audience

A.B. Data researched categories of purchasers that indirectly buy chicken for commercial food
preparation to develop a target audience of potential Settlement Class Members. This
information also assisted in determining the most appropriate media vehicles that would target
potential Settlement Class Members and maximize their opportunity to see and respond to the
notice. Several categories examined for this proposal include:

   •    Restaurants
           o National and regional chains
           o Independently owned units
   •    Grocery stores with deli departments that commercially prepare meals
   •    Nongovernmental Hospitals
   •    Nursing Homes/Long-term care facilities
   •    Non-governmental schools and universities
   •    Hotels and resorts
   •    Food contract management companies

Based on the industry and business information described above, the Notice Plan is designed
to efficiently and effectively reach Settlement Class Members.

MEDIA PLACEMENT SUMMARY

Several commercial food-specific print and digital media placements are recommended to
deliver the message about these interim Settlements to potential Settlement Class Members
and other concerned persons and entities.
Direct Notice
The Notice Plan features direct notice by mail and/or email and will be directed at Settlement
Class Members in the following industries:

    •   Restaurants
    •   Grocery Stores with commercial food operations
    •   Nongovernmental Hospitals
    •   Nursing Homes/Long term care facilities
    •   Non-governmental schools and universities
    •   Hotels and resorts
    •   Food contract management companies

Direct notice will be provided via a long-form notice with a claim form. The notices are written
in plain language and include the required summary information concerning the Action,
including:

          •   That this is a class action;
                                                4


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         •   The class definition in plain and engaging language;
         •   That the class alleges antitrust claims;
         •   That a Settlement Class Member may object and appear through an attorney if
             the member wants;
         •   That Settlement Class Members can be excluded;
         •   The time and manner for requesting exclusion; and
         •   The binding effect of a class judgment.

If A.B. Data has both a physical address and an email address, it will send the notice packet to
both. A.B. Data implements certain best practices when disseminating email notice, such as
not using email attachments and certain trigger words to avoid SPAM and junk filters, to
maximize deliverability.
Digital Media
A narrowly targeted digital advertising campaign is recommended to reach potential
Settlement Class Members. Google Display Network allows targeting to owners, managers,
and staff in commercial and institutional entities that purchase chicken for food preparation.
Websites and applications that include large percentages of the specific target audience will be
selected and programmatic buying will be utilized to ensure cost-efficient and effective
placement of the banner ads. Google AdWords will also be included for those who search for
case information.
A minimum of 20 million impressions will be purchased over 30 days to reach potential
Settlement Class Members and inform them of the case and the website. The digital media
placements will be chosen, first to meet audience notification requirements, and secondly to
achieve maximum engagement with the ads. The digital advertising campaign will be
optimized through the course of the notice period to maximize efficiency and effectiveness.
Several targeting strategies will be utilized, including:



  Digital Media Strategy                           Digital Media Tactics
  Mobile In-App                                    Targeting users inside mobile applications
                                                   that fit into our data pools. This will include
                                                   cooking and recipe apps, game apps,
                                                   weather apps, or healthy living apps.

  Mobile – Websites                                Targeting phones and tablets whose users
                                                   are visiting websites that are contextually
                                                   relevant or websites being visited by
                                                   relevant users in our data pool.



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  Digital Media Strategy                            Digital Media Tactics
  Contextual                                        Targeting websites with relevant content
                                                    and context, such as cooking, restaurant
                                                    search, and business management websites.

  Behavioral                                        Targeting user IDs whose owners have
                                                    shown activity in the target data pools, such
                                                    as those interested in restaurant
                                                    management, business management, and
                                                    cooking websites.

  Predictive Modeling                               Using “look-alike” modeling to target user
                                                    IDs whose owners have strong similarities
                                                    to users who previously clicked through to
                                                    the case website.



A.B. Data employs a fully staffed digital buying team to manage all digital and social media
programs in-house for the greatest control and oversight. A.B. Data’s digital media experts
will monitor the success, conversions, and activity associated with the digital campaigns and
will optimize the number of impressions delivered across each platform to reasonably achieve
maximum engagement and efficiency. A.B. Data’s digital media experts have the following
certifications:

   •    Google Ads Display Certification

   •    Google Ads Search Certification

With this level of expertise, digital impressions are efficiently delivered to the target audience
with online ad verification and minimal threat of bot-traffic and inappropriate content.
National Trade Publications/Websites

Print and digital campaigns in several trade publications are recommended to reach potential
Settlement Class Members in the multiple industries that are purchasers of chicken for
commercial meal preparation. The chart below summarizes the trade publications that will best
deliver the message to their audience:

    Industry                        Publications
    Restaurants                       •   Nation’s Restaurant News (audience is large
                                          chain restaurants)
                                      •   Restaurant Hospitality (audience is small
                                          chains and independents)

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   Industry                        Publications
                                    •   QSR (audience is fast food restaurants)

   Grocery Stores                   •   Progressive Grocer (audience is local store
                                        management)
                                    •   Supermarket News (audience is headquarters
                                        management and buyers)

   Hospitals, Long-term             •   Food Management (audience is non-
   Care Facilities,                     commercial food service)
   Institutional Purchasers,        •   FoodService Director (audience is non-
   Universities, Clubs,                 commercial food service)
   Hotels & Resorts,
   Theme Parks, In-
   flight/Transit,
   Correctional Facilities,
   Office Parks, and others

   Convenience Stores               •   Convenience Store News (audience is
                                        convenience store owners and executives)


Following is a summary of the media tactics for each publication, along with a review of their
audience and editorial focus.




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 Publication                 Convenience Store News
 Name/Website:               https://csnews.com/
 Media Tactics:              Full-page print ad;
                             30-day banner ad campaign on website
 Publishing                  Monthly
 Frequency:
 Audience:                   Average monthly circulation of 95,000 subscribers who are
                             decision makers in multi-chain operations and single store owners
 Digital Statistics:         134,257 average unique monthly viewers with an average of
                             244,324 page views each month.
                             Provide information to the convenience store and petroleum
 Editorial Focus:            marketing industry. Editorial includes issues and challenges
                             management faces concerning merchandising, operations, food
                             service, technology, and security.




 Publication           Food Management
 Name/Website:         https://www.food-management.com/
 Media Tactics:        Full-page print ad;
                       30-day banner ad campaign on website
 Publishing            Monthly
 Frequency:
                       Average monthly circulation of 47,230 qualified subscribers who work in
                       the food service industry outside of restaurants. This publication reaches
                       food service directors, managers, and chefs in healthcare food service,
 Audience:             colleges and universities, recreation and amusement parks, and contract
                       management of food service dining facilities such as in an office complex,
                       industrial plants, lifecare facilities, and non-governmental correctional
                       institutions.
 Digital               44,988 average unique monthly visitors with an average of 274,091 page
 Statistics:           views.
                       Provides ideas for chefs, food service directors, and managers through the
 Editorial Focus:      coverage of industry events and issues. They also cover operational topics
                       and trends that affect the non-commercial food service industry.



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  Publication        FoodService Director
  Name/Website:      https://www.foodservicedirector.com/
                     Print magazine suspended until further notice;
  Media Tactics:
                     30-day banner ad campaign on website
  Publishing         9x per year
  Frequency:
                     Average monthly circulation of 48,554 audited subscribers; FSD
                     dedicates coverage to certain segments—business and industry, college
  Audience:          and university, hospitals, senior living, and food service contract
                     management companies. They provide ideas, information, and solutions
                     that transcend markets and speak to their readers as culinarians, managers,
                     and business operators.
  Digital            39,000 average unique monthly visitors; 8,000 subscribers receive the
  Statistics:        magazine digitally each month
                     FoodService Director magazine is targeted to busy operators of non-
  Editorial Focus:   commercial food operations. Stories are concise and solution-focused,
                     and the magazine borrows best practices of consumer magazines to
                     deliver content that is smart, exciting, engaging, and easy to read.




  Publication        Nation’s Restaurant News
  Name/Website:      https://www.nrn.com/
  Media Tactics:     Full-page print ad;
                     30-day banner ad campaign on website
  Publishing         18x annually
  Frequency:
                     Average monthly audited circulation of 60,650; Primarily reaches
  Audience:          management and operators in large multi-unit national chain restaurants
                     and onsite food service facilities like hotels, clubs, and healthcare.
  Digital            427,745 monthly average unique visitors with almost 2 million page
  Statistics:        views
                     Shares insights that matter to chain restaurants and franchisees to grow
                     their business. NRN delivers what is happening in the industry, tackling
  Editorial Focus:   pressing operations issues in addition to concerns like gender diversity,
                     driving traffic, and retaining and rewarding employees. In each issue,
                     they cover technology, corporate strategy, marketing, menu, consumer
                     trends, and franchising leaders.

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  Publication        Progressive Grocer
  Name/Website:      https://progressivegrocer.com/
                     Full-page print ad;
  Media Tactics:
                     30-day banner ad campaign on website
  Publishing
                     12x annually
  Frequency:
                     Average monthly audited circulation of 37,000; Reaches the complete
                     profile of grocery retailers, from top management at headquarters to key
  Audience:
                     decision makers and buyers at the store level. 65% of subscribers work in
                     large regional or national chain grocers.
  Digital            181,719 monthly average unique visitors with a monthly average of
  Statistics:        307,800 page views
                     Published since 1922, Progressive Grocer covers industry trends,
  Editorial Focus:   consumer insights, and comprehensive research-based editorial on the
                     data needed by grocers to manage their store.




  Publication        QSR (Quick Service Restaurants)
  Name/Website:      https://www.qsrmagazine.com/
                     Full-page print ad;
  Media Tactics:
                     30-day banner ad campaign on website
  Publishing
                     12x annually
  Frequency:
                     Average monthly audited circulation of 37,763; 90% of readers operate a
  Audience:          quick-service restaurant and 73% of readers are affiliated with chain
                     concepts.
  Digital            450,000 monthly average unique visitors
  Statistics:
                     The source of news and information for the $300+ billion quick-service
                     restaurant industry. They cover marketing, purchasing, technology, and
  Editorial Focus:
                     many other topics of importance to their readers in the fast food, fast
                     casual, coffee, snacks, and desserts food industries.




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  Publication        Restaurant Hospitality
  Name/Website:      https://www.restaurant-hospitality.com/
                     Full-page print ad;
  Media Tactics:
                     30-day banner ad campaign on website
  Publishing
                     12x annually
  Frequency:
                     Average monthly qualified circulation of 89,553; Targets independent
                     restaurants and owner/operators of small, local, and regional chain
  Audience:          restaurants. Primary readers are chefs and restaurateurs who receive
                     hands-on, solutions-focused content that includes tactics and best
                     practices for managing the evolving restaurant world.
  Digital            73,085 monthly average unique visitors with a monthly average of
  Statistics:        289,417 page views
                     Delivers the latest culinary trends, technology, workforce solutions,
  Editorial Focus:   legislation, and more to smart operators and owners who are dedicated to
                     the success of independent restaurants and small chains.




  Publication        Supermarket News
  Name/Website:      https://www.supermarketnews.com/
                     Full-page print ad;
  Media Tactics:
                     30-day banner ad campaign on website
  Publishing
                     12x annually
  Frequency:
                     Average monthly qualified circulation of 30,561; Reaches grocery store
  Audience:          executives, management, buyers, and operations directors in retail and
                     wholesale store headquarters.
  Digital            208,947 monthly average unique visitors with a monthly average of
  Statistics:        672,770 page views
                     Edited for retail grocer executives, editorial covers industry news, retail
  Editorial Focus:   systems and marketing, supply chain and operations, and store trends
                     analysis.




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 Earned Media

 In addition to the notice efforts involving print publications and digital media, A.B. Data will
 disseminate a news release via the PR Newswire distribution service. This news release will be
 distributed to more than 10,000 newsrooms, including print, broadcast, and digital media,
 across the United States. It will also be distributed to trade publications relevant to this field.

 News about the case will also be broadcast to the news media via Twitter. It will be tweeted
 from PR Newswire’s and A.B. Data’s Twitter accounts to thousands of news media and other
 followers. The news release will also assist with driving search engine results, which will help
 increase traffic to the case website.
 Notice Design Strategies

 The Federal Rules of Civil Procedure require notices in class action cases to be written in
 “plain, easily understood language.” This process has been utilized in developing the notices
 for this case. A.B. Data is committed to adhering to the easily-understood-language
 requirement of Rule 23(c)(2) and Rule 23(b)(3).
 The plain-language notices developed for this plan are designed with a large, bold headline to
 be more readily seen by potential Settlement Class Members. The plain, easily understood
 language of the notice will maximize the chance that potential Settlement Class Members will
 take the opportunity to read it and understand the subject of the case, the steps they must take
 to join the Class, and the legal rights of all Settlement Class Members.
 Each printed notice will prominently display a case website address, a toll-free telephone
 number, and a mailing address so that potential Settlement Class Members will have ready
 access to relevant settlement information including the detailed notice and claim form.
 The online banner ads are designed to alert potential Settlement Class Members and entities
 about the case and encourage them to file a claim. The ads will each include a link to the case
 website so that potential Settlement Class Members may click on it and go directly to the
 website for case information and to file a claim. A.B. Data will include product or usage photos
 as part of the digital banner ads to increase awareness, generate interest, and stimulate click-
 through to the website. Below is the recommended banner ad for this litigation.




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 Due Process
 The Notice Plan summarized in this document is similar to those that courts have approved
 and conforms to the Federal Judicial Center’s Judges’ Class Action Notice and Claims Process
 Checklist and Plain Language Guide. As a Notice Plan that targets commercial and
 institutional entities that have purchased chicken for commercial meal preparation, data to
 quantify the reach of this plan is not available through traditional media resources, such as
 MRI 5 and Comscore 6, that provide accredited media research. But in analyzing the total notice
 plan and relying on numerous trade-media resources, A.B. Data estimates that the Notice Plan
 will reach at least 80% of the Class and satisfies due process and the Rule 23 requirements.

 Campaign Summary

                                        Notice Plan Summary
        Media Vehicle          80.0% Reach / 1.1 Frequency                    Number of Ads/Impressions

     Direct Notice              •    Email and mailed notice              •     One time
                                •    Google Display Network               •     20 million digital impressions
     Digital Media
                                •    YouTube
                                •    Convenience Store News               •     One print ad
                                •    Food Management                      •     30-day digital media
                                •    FoodService Director*                      campaign with standard
                                                                                banner ads
                                •    Nation’s Restaurant News
     Trade Media
                                •    Progressive Grocer
                                •    QSR
                                •    Restaurant Hospitality
                                •    Supermarket News
     Earned Media               •    National Press Release               •     One press release
 * digital campaign only




 5
  MRI-Simmons (”MRI”) is the country’s largest, most comprehensive, and most reliable consumer and media
 and product/service usage database.

 6
   Comscore is a global internet information provider on which leading companies and advertising agencies rely for
 consumer behavior insight and internet data usage.
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